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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

JAVIER GOMEZ, et al.,                          §
     Plaintiff(s),                             §
                                               §
vs.                                            § CIVIL ACTION NO: 3:14-cv-2934 P
                                               § JURY
                                               §
MI COCINA LTD, et al.,                         §
     Defendants.                               §


      DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ OBJECTIONS TO
                       MAGISTRATE’S JUDGE’S ORDER

         Defendants file this Response in Opposition to Plaintiffs’ Objection to Magistrate Judge’s

Order Denying Plaintiffs’ Emergency Motion to Withdraw or Amend Deemed Admission to

Defendants’ Request for Admissions and Extension of Time to Respond to Discovery [Dkt. Nos. 463

and 467], and respectfully show the Court as follows:




       DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ OBJECTION TO MAGISTRATE’S JUDGE’S ORDER

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                          I.     SUMMARY OF THE RESPONSE

         Plaintiffs have asked the Court to reverse a discretionary discovery order entered by

Magistrate Judge Irma Ramirez denying Plaintiffs’ motion to withdraw “deemed admissions” of

43 individuals who failed to answer six requests for admission served individually in this Fair

Labor Standards Act collective action lawsuit. Rule 36 provides that facts are conclusively

deemed admitted unless withdrawn and places a heavy burden on the party seeking withdrawal

to show two things, neither of which any of these 43 individuals was able to show. First, a party

must show (1) the merits of the action will be promoted by withdrawal. and (2) the non-moving

party will not be prejudiced as a result of the withdrawal. The Fifth Circuit has made clear that,

even upon such a showing, the trial court may exercise its discretion to deny a request to

withdraw deemed admissions.

         Plaintiffs take issue with many of the remarks made and questions asked by the

Magistrate Judge during oral argument on this Motion. But what they have failed to do is

articulate any persuasive reason why the Magistrate Judge’s ultimate conclusion—that the

admissions should not be withdrawn—(1) constituted a clearly erroneous finding of fact, (2) was

contrary to Rule 36, or (3) represented an abuse of the Magistrate Judge’s discretion. As such,

Plaintiffs have not satisfied their burden, and the Magistrate Judge’s order should stand.

                    II.        RELEVANT PROCEDURAL HISTORY

         As authorized by the Court some time ago, Defendants served six identical requests for

admissions to 62 Opt-In Plaintiffs. Answers to each of these were long before Plaintiffs filed a

motion to withdraw deemed admissions, with some due as long ago as December 23, 2015.

Among those 62 served, only 19 provided timely answers. Ten of those 62 Opt-Ins never

responded to any written discovery, and 33 have served answers ranging from one day late to 90

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days late. In total, 43 of these 62 Opt-Ins have been deemed to have admitted all of the items in

Defendants’ requests for admissions. The following schedule represents the history of discovery

with respect to the Opt-Ins Plaintiffs’ who are deemed to have admitted the facts at issue:1

    Name                         Date Served       Stipulated Date Due   Answer Service Date   Days Late
    Thomas, Michelle             11/13/2015             12/23/2015           2/23/2016            62
    Aguilar, Javier               12/1/2015              1/14/2016           4/13/2016            90
    Aguinaga, Marcos              12/1/2015              1/14/2016           1/21/2016             7
    Loya, Omar                    12/1/2015              1/14/2016           1/20/2016             6
    Ortiz, Francisco              12/1/2015              1/14/2016             NONE              100+
    Romero, Elizabeth             12/1/2015              1/14/2016           2/23/2016            40
    Stern, Mike                   12/1/2015              1/14/2016           2/24/2026            41
    Talamantes, Irma              12/1/2015              1/14/2016             NONE              100+
    Alarcon, Elda                12/21/2015              1/20/2016           1/21/2016             1
    Blake, Jennifer              12/21/2015              1/20/2016           1/21/2016             1
    Guerrero, Victor             12/21/2015              1/20/2016           1/21/2016             1
    Lopez, Isabel                12/21/2015             1/20/2016              NONE              100+
    Sanchez, Anayeli             12/21/2015             1/20/2016            1/21/2016             1
    Valenciano, Javier           12/21/2015              1/20/2016           1/21/2016             1
    Aguilera, Erika               1/12/2016              2/11/2016           2/12/2016             1
    Aguirre, Marbella             1/12/2016              2/11/2016           2/12/2016             1
    Alcaraz, Maria                1/12/2016              2/11/2016           2/12/2016             1
    Barron, Kevin                 1/12/2016              2/11/2016           2/12/2016             1
    Bonilla Romero, Silvia        1/12/2016              2/11/2016            4/6/2016            55
    De Haro, Angelica             1/12/2016              2/11/2016             NONE              100+
    Delgado Ramos, Orlando        1/12/2016              2/11/2016            4/7/2016            56
    Dominguez, Luis               1/12/2016              2/11/2016           2/12/2016             1
    Dominguez, Charlie            1/12/2016              2/11/2016             NONE              100+
    Elydrissi, Abderrahmane       1/12/2016             2/11/2016            2/12/2016             1
    Escobedo, Brenda              1/12/2016              2/11/2016           2/12/2016             1
    Gross, Johnna                 1/12/2016              2/11/2016             NONE              100+
    Gurevich, David               1/12/2016              2/11/2016             NONE              100+
    Hernandez, Esmeralda          1/12/2016              2/11/2016           2/29/2016            18
    Irineo, Hugo                  1/12/2016              2/11/2016           2/24/2016            13
    Kifer, William                1/12/2016             2/11/2016              NONE              100+
    Kleeb, Nathan                 1/12/2016              2/11/2016           2/12/2016             1
    Knitch, Alexander             1/12/2016              2/11/2016           2/12/2016             1
    Knox, Heidi                   1/12/2016              2/11/2016           2/12/2016             1
    Laguna, Miguel                1/12/2016              2/11/2016           2/18/2016             7
    Lopez Diaz, Genaro            1/12/2016             2/11/2016            2/29/2016            18
    McCallum, Caroline            1/12/2016              2/11/2016             NONE              100+




1
    See Parties’ Joint Submission, Dkt. No. 448 at 8.
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 Name                      Date Served    Stipulated Date Due    Answer Service Date    Days Late
 Neal, Christy              1/12/2016          2/11/2016             2/18/2016              7
 Novy, Andrew               1/12/2016          2/11/2016              4/7/2016             56
 Jackson, Morgan            1/29/2016          2/29/2016               NONE               100+
 Nwaohia, Ezinwanne         1/29/2016          2/29/2016              3/1/2016              1
 Urieta, Noel               1/29/2016          2/29/2016             3/16/2016             16
 Vera, Jessica              1/29/2016          2/29/2016              3/1/2016              1
 Vidales, Paciano           1/29/2016          2/29/2016              3/1/2016              1

         1.     Defendants’ long-standing effort to address the issue of deemed
                admissions, and reliance on them, was ignored by Plaintiffs

         On January 25, 2016, Defendants’ counsel sent a letter to Plaintiffs’ counsel concerning

the matter of untimely or non-existent answers to Defendants’ request for admissions, and

specifically asked Plaintiffs whether they intended to seek withdrawal of those deemed

admissions:

         By operation of Rule 36, the Requests for Admission served to the above-
         mentioned Opt-In Plaintiffs are now deemed admitted, and Defendants intend to
         rely on those deemed admissions for the remainder of this action—as well as
         any deemed admissions pertaining to future non-answering Opt-Ins. The
         Interrogatories that accompanied each of Defendants’ Requests for Admission
         were only effective in the instance of a corresponding Request for Admission
         being denied. Because Requests for Admission have been admitted and not denied
         in many instances, we have no need to compel answers to Interrogatories.

         To the extent you intend to seek the withdrawal of the deemed admissions
         ascribed to any defaulting Opt-In Plaintiff, we ask that you promptly advise us of
         your intention to do so and specify each Opt-In for whom you will seek such
         withdrawal. Given the limited amount of discovery available to Defendants from
         the Opt-In Plaintiffs who have joined this case and the short period of time
         remaining for obtaining that discovery, it is essential that Defendants to have a
         fair opportunity to take appropriate action to protect themselves from the
         prejudice resulting from the lengthy delays in responding and untimely answers.
         This letter does not represent Defendants’ agreement to the withdrawal of deemed
         admissions, or any waiver of our right to contest such withdrawal. However, if the
         Opt-In Plaintiffs above, or any others, intend to come forward with additional
         untimely responses or otherwise seek to withdraw these deemed admissions,




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         Defendants ask that Plaintiffs advise Defendants of this now and with sufficient
         specificity so that Defendants may in fairness protect their interests.2

         On February 16, 2016, Defendants filed an opposed Motion for Continuance with the

Court in which they again raised the issue of deemed admissions, stating:

         Defendants contend that some of the answers received were untimely served
         and/or unverified, and that facts set forth in requests for admissions have, in the
         instance of untimely responses, been deemed admitted under Rule 36.3

         2.      Plaintiffs kept Defendants guessing about their intentions by resisting
                 a continuance in the lawsuit and arguing Defendants could rely on
                 deemed admissions, but later seeking to withdraw admissions when a
                 continuance was granted

         Plaintiffs opposed Defendants’ requested continuance by evincing a clear intention, on

February 24, 2016, to take no action to withdraw the deemed admissions. They argued in Court

documents that Defendants would be able to rely on deemed admissions—and, therefore, should

need no further discovery:

         Defendants contend that any admission question not timely answered are deemed
         admitted, so it begs the question why they would need 4 months of discovery
         when they can make their case with what they currently have.”4

As is obvious, in February 2016, Plaintiffs were aware that they had a potential problem with

“deemed admissions,” and with that knowledge, they opted to use this fact to their advantage

rather than take prompt action remedy it.

         Two months after addressing the deemed admissions in Court documents as a reason why

discovery need not be continued, and three months after Defendants posed the issue in their letter

to Plaintiffs’ counsel, Plaintiffs then filed what they captioned as an “emergency” motion to have

all of those deemed admissions withdrawn.                There was no “emergency” when Plaintiffs


2
  See Dkt. No. 449, Appendix to Joint Submission, (Def’s APP 012-013, Letter dated January 25, 2016 (emphasis
added)).
3
  See Dkt. No. 386 at 3, n.8, Defendants’ Motion for Continuance.
4
  See Dkt. No. 394 at 14, Plaintiffs’ Response to Defendants’ Motion for Continuance.
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leveraged the fact of deemed admissions to help them in some aspect of the case, which use kept

Defendants in the dark about which facts would be at issue in discovery and which would not.

                      III.    ARGUMENT AND AUTHORITIES

A.       Standard of Review for Objections to Magistrate Judge’s Order

         Under Rule 72(a), a non-dispositive determination of a Magistrate Judge may be reversed

only if it is “clearly erroneous” or “contrary to law.” The “clearly erroneous” standard applies to

the factual components of the magistrate judge’s decision. Smith v. Smith, 154 F.R.D. 661, 665

(N.D.Tex.1994). A district court “may not disturb a factual finding of the magistrate judge

‘unless, although there is evidence to support it, the reviewing court is left with the definite and

firm conviction that a mistake has been committed.’” Id. (quoting RTC v. Sands, 151 F.R.D. 616,

618 (N.D.Tex.1993) (citing Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 573, 105

S.Ct. 1504, 1511, 84 L.Ed.2d 518 (1985))). Accordingly, if the Magistrate Judge’s “‘account of

the evidence is plausible in light of the record viewed in its entirety,’ a district judge may not

reverse it.” Id. (quoting RTC v. Sands, 151 F.R.D. at 618).

         A magistrate judge’s conclusions of law may be reviewed de novo and reversed only if

the she erred in reaching her legal conclusions. Smith, 154 F.R.D. at 665. Here, Plaintiff has cited

no controlling law with respect to any issue that was disregarded by the Magistrate Judge. With

respect to the objections Plaintiffs have made, there are no ascertainable “errors of law”

identified; thus, there is nothing that is subject to review on a de novo standard. Plaintiffs

objections must meet the heavy burden of establishing that there was a clearly erroneous factual

finding or that the Magistrate Judge abused her discretion in entering the Order. “[T]he abuse of

discretion standard governs review of that vast area […] that remains [when the magistrate

judge] has properly applied the law to fact findings that are not clearly erroneous.” Id.

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         If a request for admission is not timely answered within 30 days after service, the “matter

is admitted.” FED. R. CIV. P. 36(a)(3). Once admitted, the matter is “conclusively established

unless the court, on motion, permits withdrawal or amendment of the admission.” FED. R. CIV. P.

36(b). A trial court may not allow withdrawal unless two factors are both met: (1) it would serve

the presentation of the case on its merits; and (2) withdrawal “would not prejudice the party that

obtained the admissions in its presentation of the case.” In re Carney, 258 F.3d 415, 419 (5th Cir.

2001). Importantly, “[e]ven when these two factors are established, a district court still has

discretion to deny a request for leave to withdraw or amend an admission.” Id. The “court acts

within its discretion in considering the fault of the party seeking withdrawal.” Le v. Cheesecake

Factory, 2007 WL 715260, at *2 (5th Cir. Mar. 6, 2007) (citing Pickens v. Equitable Life

Assurance Soc., 413 F.2d 1390, 1394 (5th Cir. 1969)).

B.       There is No Error of Law

         Plaintiffs incorrectly assert that the Magistrate Judge erroneously assigned Plaintiffs with

the burden of providing that Defendants would not be prejudiced by the withdrawal of their

deemed admissions. Plaintiffs are wrong for multiple reasons, including: (1) there is no

controlling authority holding that a defendant carries any burden with respect to a motion to

withdraw deemed admissions; (2) in the alternative, even if there is controlling authority placing

a burden on Defendants, any error in applying such a rule constitutes “invited error” because

Plaintiffs affirmatively assumed the burden of proof; and (3) in the further alternative, error of

law on this point, if any, was harmless because Defendants unequivocally made the requisite

showing of prejudice and the Magistrate Judge did not make a clear error by crediting

Defendants’ showing on that point.



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         First, there is no controlling authority assigning any burden to a non-moving party on a

motion to withdraw deemed admissions. Plaintiffs cite Le, 2007 WL 715260 at *2-3, which is an

unpublished and non-precedential decision and, hence, is only persuasive authority. Furthermore,

Plaintiffs cite no controlling authority for the proposition that any part of the burden belongs to

the non-moving party. The Magistrate Judge could not have made a conclusion that was

“contrary to law” if there is no controlling law governing the question. See, e.g., Merrill v. Waffle

House, Inc., 227 F.R.D. 475, 477 (N.D. Tex. 2005) (holding that the magistrate judge made no

error of law in assigning burden of establishing “irrelevance” to the party opposing discovery,

where the case law advocating the opposite approach was “not controlling in this circuit”); James

v. Life Ins. Co. of N. Am., 2015 WL 4126580 (N.D. Tex. July 15, 2015) (affirming magistrate

judge’s order and noting that the defendants “do not submit a controlling case” on a legal issue

argued as error).

         Second, Plaintiffs cannot be heard to complain now that the Magistrate Judge assigned

them a burden with respect to their motion, inasmuch as Plaintiffs’ counsel conceded at oral

argument (as shown below) that the burden was entirely theirs and, thus, invited the very thing

they now claim is error. Thus, assuming for the sake of argument only that controlling law does

place a burden on the non-moving party, any error in that regard is not reversible because the

error (if any) was invited by Plaintiffs.

         THE COURT: All right. Who has the burden on both elements of the Rule 36
         test?

         MS. IBIRONKE: We do, Your Honor.

         THE COURT: All right. And I ask because there is -- the rule is not clear on the
         second prong. The Cheesecake Factory case that you cited me appears to put the
         burden on the moving party, but there's other case law that says that the party who


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           obtained the admission has the burden to show prejudice, and that's why I ask.
           But you're -- you've told me that you believe Plaintiffs have the burden here.5

           Third, even if there was an error and it was not invited, the error was harmless because

Defendants easily made a demonstration of prejudice that would be suffered as a result of

permitting Plaintiffs to withdraw their deemed admissions, and the Court articulated that the

“prejudice” element was established without regard to whether it was Plaintiffs’ burden or

Defendants’ burden:

           THE COURT: So there's no basis on the second issue to set aside or extend
           discovery as to those people. But with the ones who have answered untimely, I
           think you're required to make a more specific showing than what you've made,
           and just to generally argue that it goes to the merits of the case is not enough. I
           don't find that it's case-dispositive. While it may hurt each individual Plaintiff's
           case somehow, I'm left to guess that it will hurt them, because they're grouped
           together. Regardless of who has the burden on the prejudice prong, and I
           think there is a prejudice because decisions are made as to how to proceed
           with discovery. It looks like the parties have decided to do their written discovery
           before depositions. That's not unusual and that is something that happens very
           frequently. And if we have to go back and start over with the written discovery,
           that pushes back the depositions. So the timing of the motion I think is something
           that says a lot here. And I started with the last prong -- with the presumption that
           the prongs have been met because fault here is I think something very hard to
           overcome.6

Nowhere in the Magistrate’s Order or the transcript of the hearing did she indicate that

Defendants prevailed merely because Plaintiffs failed to meet “their burden.” To the contrary,

the record indicates that the Court found that the burden was met, no matter which party the

“burden” rested upon.

           Finally, even if Plaintiffs could show that both prongs of Rule 36(a) were met, they

cannot escape the fact that “the court is not required to make an exception to Rule 36 even if

both the merits and the prejudice issues cut in favor of the party seeking exception to the rule.”


5
    See Pltf’s APP 003, Hrg. Tr. 3:5-14.
6
    See Pltf’s APP 048-49, Hrg. Tr. 48:20-49:13.
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In re Carney, 258 F.3d 415, 419 (5th Cir. 2001) (quoting Donovan v. Carls Drug Co., Inc., 703

F.2d 650, 652 (2d Cir. 1983)). For the avoidance of doubt, the Fifth Circuit has “determined that

a court acts within its discretion in considering the fault of the party seeking withdrawal or its

diligence in seeking withdrawal.” Id. (citing Pickens v. Equitable Life Assurance Soc., 413 F.2d

1390, 1394 (5th Cir. 1969). As Plaintiffs acknowledge, the Magistrate Judge considered

Plaintiffs’ fault in the context of their motion to withdraw deemed admissions:

           COURT: I appreciate that you want to go back to the two-part test, and you've
           spent a lot of time arguing the two-part test. And we'll get there. But ultimately,
           even if I assume that you've met it, don't I still have to look at or aren't I still
           entitled to look at the fault of the party, not just when they're moving? I have real
           concerns here about the Plaintiffs being placed on notice back in January and not
           doing anything about it, and then arguing affirmatively in a filing to the Court that
           they have everything they need because they've got deemed admissions, and then
           subsequently coming back to say, no, wait a minute, we didn't mean it.7

In short, there was no error of law, and the assignment of the burden is irrelevant to the

challenged Order in any event.

C.         There is No Clearly Erroneous Factual Finding

           1.       The Court properly credited Defendants’ evidence and arguments
                    that withdrawal of deemed admissions would act to unfairly prejudice
                    Defendants.

           The Magistrate Judge found that Defendants would be prejudiced by the withdrawal of

deemed admissions and considered Plaintiffs’ fault with respect to that, and her factual findings

were amply supported by the record.

           First, Defendants showed that they had notified Plaintiffs’ counsel three months prior to

the Plaintiffs’ filing of their motion to withdraw deemed admissions that Defendants intended to

rely on those admissions, and further asked whether Plaintiffs would seek withdrawal; yet,


7
    See Pltf’s APP 023, Hrg. Tr. 23:14-24.
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Plaintiffs made no response or attempt to undertake a withdrawal of deemed admissions

thereafter.8 Under such circumstances, case law supports a court’s finding that withdrawal of

deemed admissions was improper. See Employment Opportunity Comm’n v. Jordan Graphics,

Inc., 135 F.R.D. 126, 128-29 (W.D.N.C.1991) (refusing to allow withdrawal where plaintiff had

notified defendant of its intention to consider unanswered requests to be conceded, defendant

still failed to seek withdrawal of admissions for five months).

         Second, Defendants also presented the Court with Plaintiffs’ own statements made in

court filings—weeks after Defendants’ January 2016 letter to Plaintiffs’ counsel raising

questions about the deemed admissions, but still two months before the motion to withdraw

them—wherein Plaintiffs argued to the Court that Defendants did not need further discovery and

a continuance should be denied, in part, because of the admissions that had been deemed:

         “Defendants contend that any admission question not timely answered are deemed
         admitted, so it begs the question why they would need 4 months of discovery
         when they can make their case with what they currently have.”9

         Third, Defendants also have compelling reasons why they would be unfairly

disadvantaged by the withdrawal of deemed admissions on multiple fronts in discovery: (1)

Defendants had made and executed upon strategic decisions about which of their very limited

number of depositions would be utilized in consideration of the fact that many members of the

class had admitted facts that would preclude the need to take their depositions; and (2)

Defendants had avoided seeking to compel non-evasive answers to interrogatories propounded

four to six months ago, because those answers were unnecessary in light of the facts deemed to




8
 See Parties’ Joint Submission, Dkt. No. 448 at 28.
9
 See Parties’ Joint Submission, Dkt. No. 448 at 10 (citing remarks made by Plaintiffs in Plaintiff’s Response to
Defendants’ Motion for Continuance, Dkt. No. 394 at 14).
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be conclusively admitted.10 “When a party directs its resources, fiscal, physical and otherwise, to

those issues it reasonably believes are the only ones left to be resolved […withdrawal of deemed

admissions] should only be allowed upon a showing that the Rule 36(b) test is met by clear and

convincing evidence.” Branch Banking & Trust Co. v. Deutz-Allis Corp., 120 F.R.D. 655, 659

(E.D.N.C. 1988) (determining that prejudice would result from withdrawal, even though

discovery had been extended past original scheduled deadline). Indeed, the Court not only

concluded that there was prejudice, but observed that Plaintiffs’ actions (and/or lack of timely

actions), were at the center of that prejudice:

          THE COURT: Regardless of who has the burden on the prejudice prong, and I
          think there is a prejudice because decisions are made as to how to proceed with
          discovery. It looks like the parties have decided to do their written discovery
          before depositions. That's not unusual and that is something that happens very
          frequently. And if we have to go back and start over with the written discovery,
          that pushes back the depositions. So the timing of the motion I think is something
          that says a lot here.11

          THE COURT: When the other side has specifically placed you on notice as to the
          untimeliness of three sets of discovery already and what the position is and have
          asked for notice so that they can plan accordingly, and you don't respond, and you
          argue otherwise in a response to a motion for continuance, I think you almost
          created the prejudice here. And waiting until just before the depositions doesn't
          cure that.12

          The Magistrate Judge’s finding that Defendants would be prejudiced by the withdrawal

of deemed admissions is supported and cannot be construed as clearly erroneous.




10
   See Parties’ Joint Submission, Dkt. No. 448 at 25-27.
11
   Pltf’s APP 049, Hrg. Tr. 49:3-10.
12
   Pltf’s APP 049, Hrg. Tr. 49:15-22.
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           2.       The Court properly found that Plaintiffs had presented no evidence
                    excusing each individual’s failure to timely answer requests for
                    admissions.

           The Court gave proper consideration to the fact that, despite Plaintiffs’ request to

withdraw deemed admissions on behalf of 43 different individuals, Plaintiffs did not submit a

single admissible statement from any of them providing an explanation or showing some cause

for their failure to respond to discovery. While Plaintiffs’ counsel did argue that one person was

busy dealing with issues surrounding the death of a spouse and another had a father in the

hospital for several months, those statements are ambiguous hearsay at best, and Plaintiffs failed

to provide a declaration or affidavit from any of the 43 individuals. The Court took notice of this:

           THE COURT: There's argument in here. I don't have any evidence before me that
           says this is why he or she didn't stay in contact with his or her attorneys and didn't
           communicate with them or why you weren't able to find them.

           MS. IBIRONKE: The declaration --

           THE COURT: What I have here --

           MS. IBIRONKE: Sorry, Your Honor. Go ahead.

           THE COURT: -- across the board is untimely answers. And I don't see anything
           with regard to a specific individual. You named them in your joint admission.13

           3.       Plaintiffs have not demonstrated an inability to present the merits of
                    their case unless deemed admissions are withdrawn.

           Although Plaintiffs have argued that the deemed admissions at issue hurt their case, the

have not, and cannot, demonstrate how any deemed admission is case dispositive, even as to

these individuals. Moreover, the Court has broad discretion to deny Plaintiffs’ request to

withdraw deemed admissions even if case dispositive motions were at issue. See, e.g., Curtis v.

State Farm Lloyds, 2004 WL 1621700, at *6 (S.D. Tex. Apr. 29, 2004) (denying withdrawal of



13
     See Pltf’s APP 050, Hrg. Tr. 50:7-16.
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case-dispositive admissions because “plaintiffs have not come forth with sufficient reason for

their failure timely to respond” to the requests for admission). Plaintiffs have never articulated

how the presentation of the merits of their case would be served by withdrawal of any of the

deemed admissions at issue in this motion. Specifically, Plaintiffs cannot show—beyond very

broad conclusions and generalities about the group as a whole—how the answers of any given

individual would change, and the merits of their claims would thereby be served, if the deemed

admissions were withdrawn. The Magistrate Judge was provided with a clear explanation as to

how Plaintiffs’ claims would not be disposed of in their entirety—either on an individual basis,

or a collective one—as a result of the admissions deemed:

           MR. ELLIOTT: … none of these individual requests for admissions constitutes a
           case dispositive issue. None of them are we win, they lose. They're factual
           questions seeking individual personal knowledge. Request for #4 asks about
           personal knowledge about improper tip pools. If they admit that they have no such
           knowledge, then that's not something that we need to explore but it's not case-
           dispositive. If someone received no instruction to work off the clock, as is
           requested in #5, that doesn't mean that they didn't work off the clock… I don't
           think that there is anything in the requests for admissions that, if deemed, would
           destroy their case on an individual basis or on a class-wide basis. It may factually
           hurt them with some of their various positions and arguments, but I think the case
           law is fairly consistent that what's important is, you know, are these admissions
           going to end the case, and they're not.14

           Notwithstanding, even if Plaintiffs are correct that the merits of their claims would be

served by the withdrawal of their admissions, that fact is be of no importance for two reasons: (1)

the “merits of the case” is only one part of a two-prong conjunctive test where the prong—lack

of prejudice to Defendants—has not be met; and (2) even if Plaintiffs met both prongs of the test,

it would still not deprive the Magistrate Judge of her discretion to deny Plaintiffs’ request to




14
     See Pltf’s APP 045-46, Hrg. Tr. 45:12-46:16.
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withdraw the deemed admissions, upon consideration of Plaintiffs’ fault, and the lack of

evidence supporting Plaintiffs’ request. In re Carney, 258 F.3d at 419.

D.        The Court’s Refusal to Retroactively Nullify Written Discovery Served to
          Opt-In Plaintiffs Was Not an Abuse of Discretion

          As part of Plaintiffs’ Motion to withdraw deemed admissions, they asked the Court to

retroactively nullify sets of requests for admissions served to ten Opt-Ins who have answered

discovery in any manner—a group Plaintiffs have termed “Unreached Plaintiffs” because they

have not responded to attempts by counsel to contact them. Plaintiffs asked, in essence, to allow

these 10 Opt-In Plaintiffs to withdraw their deemed admissions without satisfying any of the

requirements under Rule 36. Plaintiffs did not provide Magistrate Judge with any legal authority

for such a procedure, nor do they now offer any explanation on appeal as to how such an order

could have been entered, much less that how the Magistrate Judge’s failure to do so was contrary

to law. Contrary to Plaintiffs’ argument that the Magistrate Judge “failed to address” this request,

it is quite clear that the request was addressed in her Order, which denied all relief Plaintiffs

sought.

          WHEREFORE, Defendants respectfully request the Court to affirm the Magistrate

Judge’s Order in all respects.




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                                               Respectfully submitted,


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                             CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing has been served
upon all counsel of record via the Court’s CM/ECF system, on June 23, 2016, as follows:

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